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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DIAMONIK HOUGH, et al.                              :      CIVIL ACTION
              Plaintiffs                            :
    v.                                              :      NO. 20-3508
                                                    :
CITY OF PHILADELPHIA, et al.                        :
                Defendants                          :

ANTHONY SMITH, et al.                               :      CIVIL ACTION
               Plaintiffs                           :
    v.                                              :      NO. 20-3431
                                                    :
CITY OF PHILADELPHIA, et al.                        :
                Defendants                          :

DELANE J. WELTCH, et al.                            :      CIVIL ACTION
                Plaintiffs                          :
    v.                                              :      NO. 20-3432
                                                    :
CITY OF PHILADELPHIA, et al.                        :
                Defendants                          :

IAN ZOLITOR, et al.                                 :      CIVIL ACTION
                      Plaintiffs                    :
       v.                                           :      NO. 20-3612
                                                    :
CITY OF PHILADELPHIA, et al.                        :
                Defendants                          :




                                            ORDER

       AND NOW this 7th day of September 2021, following upon a joint status conference with
counsel for Plaintiffs and Defendants, it is hereby ORDERED that:

            1. Defendants shall, on or before September 9, 2021, provide Plaintiffs with their
               proposed damages matrix pertaining to the determination of Plaintiffs’ individual
               monetary awards;
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  2. Counsel for the parties shall meet and confer regarding the integration of their
     respective damages matrices into a sole matrix, the final iteration of which is due
     to the Court on October 1, 2021. If the parties cannot come to an agreement
     regarding a final damages matrix, they shall notify the Court on or before October
     1, 2021;

  3. If the parties agree to a final damages matrix, Plaintiffs shall input the requisite
     particularized information for each individual plaintiff, and provide the completed
     matrix to the Court and Defendants by October 22, 2021;

  4. Defendants shall provide to the Court and Plaintiffs a draft consent decree in
     response to Plaintiffs’ draft consent decree, dated May 14, 2021, by October 1,
     2021;

  5. Upon receipt of the Defendants’ draft consent decree, the Court will initiate ex parte
     communications with counsel for the parties.




IT IS SO ORDERED.

                                            BY THE COURT:

                                            /s/ David R. Strawbridge, USMJ
                                            DAVID R. STRAWBRIDGE
                                            UNITED STATES MAGISTRATE JUDGE
